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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

IN RE:                                                             CHAPTER 13

MICHAEL PAUL KUMBAT, SR. and
LORI SUSAN KUMBAT,                                                 CASE NO. 8:09-bk-19033-KRM

                                               /

                                   ORDER CONFIRMING PLAN

        THIS MATTER came on for a hearing on April 21, 2010 following the
transmittal of the Debtor’s¹ Chapter 13 plan (the “Plan,” reference to which shall include
any subsequent modification made by prior order, in open court during the hearing, or
this order) to all parties in interest. Any modification to the Plan that the Debtor made at
confirmation has been incorporated herein. The Court makes the following findings:

       A.     The Plan complies with the provisions of Chapter 13 of the Bankruptcy
Code² and with other applicable provisions of the Code;

        B.     Any fee, charge, or amount required under chapter 123 of Title 28 of the
United States Code, or by the Plan, to be paid before confirmation, has either been paid
or shall be paid by the Chapter 13 Trustee (“Trustee”) from the monies held pursuant to
section 1326(b);

          C.       The Plan has been proposed in good faith and not by any means forbidden
by law;

       D.      The value, as of the effective date of the Plan, of property to be distributed
under the Plan on account of each allowed unsecured claim is not less than the amount
that would be paid on such claim if the estate of the Debtor had been liquidated under
Chapter 7 of the Bankruptcy Code on such date;

       E.     The treatment of each allowed secured claim provided for by the Plan
complies with the provisions of section 1325(a)(5):

       F.     The holders of secured claims, whether or not dealt with under the Plan as
confirmed, shall retain the liens securing such claims;

      G.      The Debtor will be able to make all payments under the Plan and to
comply with the Plan;

1.        All references to “Debtor” shall include and refer to both of the Debtors in a case filed jointly by two
individuals.
2.        All statutory references are to the Bankruptcy Code, Title 11 of the United States Code, unless otherwise
noted.
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       H.      The action of the Debtor in filing the petition was in good faith; and

       I.     The Debtor has complied with section 1325 (a) (8) and (9).

       Accordingly, it is hereby

ORDERED:

       1.     The Plan is confirmed.

         2.     Payments by the Debtor as initially set forth in the attached Exhibit “A,”
incorporated herein by reference, shall be made each month by money order or cashier’s
check for 60 consecutive months commencing on September 26, 2009 to the Chapter 13
Standing Trustee, Terry E. Smith, P.O. Box 830, Memphis, TN 38101-0830.
Nevertheless, in the event the Trustee has insufficient monies to make distribution
pursuant to this order, or any other court order, the payments may be adjusted during the
life of the Plan without further order of this Court.

       3.     The Debtor is prohibited from incurring any non-ordinary course post-
confirmation debt during the term of this Plan without prior approval of the Court or the
Trustee.

       4.    Claims are allowed and security surrendered to creditors set forth in
Exhibit “A”.

        5.       Distributions by the Trustee shall commence and continue on a monthly
basis in the following order:

              (a)     The Trustee’s percentage fee, as allowed by the U.S. Trustee.

              (b)     The attorney’s fees for the Debtor’s attorney, which pursuant to
                      Bankruptcy Code section 330(a)(4)(B), the court allows as
                      reasonable compensation to Debtor’s counsel (“Counsel”), Weller
                      Legal Group, Inc., (to include all cost other than the filing fee) for
                      representing the interests of the Debtor in connection with this
                      Chapter 13 case the amount of $3,600.00 (“Total Fee”) which,
                      after crediting the amount of the retainer of $800.00 (“Retainer”),
                      the sum of $2,800.00 shall be paid through the confirmed Plan, in
                      full, without interest, by the Trustee to Counsel subject to the
                      following: (a) absent extraordinary circumstances and specific
                      order of the court, Counsel may not charge any additional fees for
                      services or expenses in connection with all services rendered to the
                      Debtor from the commencement of the representation
                      (“Commencement”) until 36 months after the date of confirmation
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                      of the plan; (b) Total Fee does not exceed the amount agreed to be
                      paid by the Debtor at the Commencement and as disclosed in the
                      statement filed by Counsel pursuant to Fed.R.Bankr.P. 2016; (c)
                      provided sufficient funds are available, the balance owed shall be
                      paid at $200.00 per month.

               (c)    Creditors’ claims in accordance with Exhibit “A” or as
                      subsequently allowed after the claims bar date.

       6.     Provisions for treatment of adjustable rate mortgage payments and escrow
account adjustments are as follows:

               (a)    The Debtor shall forward any notice of change of mortgage
                      payment or escrow amount (“Notice”) to the Trustee as soon as it
                      is received.

               (b)    Upon receipt of the Notice, the Trustee shall adjust the payment
                      required to be made by the Debtor under the Plan in accordance
                      with the Notice, to provide for the continued payment of the
                      creditors’ claims in accordance with Exhibit “A”.

               (c)    The foregoing provisions are, in effect, a modification to the Plan,
                      which is deemed requested by the Trustee as provided in section
                      1329. Notice and hearing are waived inasmuch as no creditor will
                      be adversely affected by such change.

        7.     Provisions for both pre-petition and post-petition arrearages, if any, on
allowed secured claims are included in the Plan. After the completion of all payments
under the Plan and the entry of a discharge of the Debtor, the delinquencies on mortgages
and security interests related to such claims will be deemed cured and their contractual
maturities reinstated. All post-petition late fees and charges incurred incident to the Plan
shall be discharged.

       8.      The claims of creditors whose liens have been avoided by separate Court
order will be subject to the following:

               (a)     The unsecured amount will be treated in accordance with the Plan.

               (b)    If the case is dismissed after entry of this order, the payments
                      received by the creditor from the Trustee will apply to reduce the
                      debt, but the lien will not be avoided.
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               (c)     Upon the earlier of (i) the payment of the underlying debt in full,
                       or (ii) the entry of a discharge under section 1328, the lien of the
                       creditor shall be avoided, without further order.

       9.      If any claim (secured/priority/unsecured) is filed after entry of this order,
the Debtor through counsel, if any, must timely file an appropriate motion to modify the
confirmed Plan and any objection to claims or motions to value claims.

       10.     If the bar date to file proofs of claim has not yet expired:

               (a)     The Debtor shall have thirty (30) days following the expiration of
                       any bar date to object to any claim filed after entry of this order.

               (b)     The Debtor shall have thirty (30) days following the filing of an
                       untimely claim to file an objection.

               (c)     Failure to timely object to a claim shall result in the allowance of
                       the claim, and the Trustee shall include payments to these creditors
                       pro rata in addition to those creditors currently listed on attached
                       Exhibit “A”.

               (d)     The Trustee shall review the claims register after all bar dates have
                       passed and may file a motion to dismiss if the Debtor fails to
                       timely take appropriate action to address all filed claims.

        11.      The Trustee shall hold all funds payable to general unsecured creditors for
at least thirty (30) days after the bar date for filing claims has passed, and the Trustee
may continue to hold all such funds until all objections to claims have been resolved.

        12.     The Debtor is responsible for paying all post-petition ongoing
homeowners’ assessments, homeowners’ dues, and /or property taxes. The automatic
stay shall not apply to these debts.

        13.    The Debtor is responsible for paying any domestic support obligation that
first becomes payable after the petition date.

      14.     Variations in distributions between the Plan and this order shall be
governed by the provisions of this order.

       15.    All objections to confirmation of the Plan were resolved at the
confirmation hearing or are resolved by this order.

         16.    By not later than 180 days prior to the Debtor’s last payment, the Debtor
shall file a declaration under penalty of perjury (see 28 U.S.C. section 1746) that (i) lists
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all domestic support obligations and whether such obligations are current and (ii) section
522 (q) (l) is not applicable and that no proceeding is pending in which the Debtor could
be found guilty of an offense listed in section 522 (q) (l).

       17.     The entry of a discharge shall be withheld unless the Debtor completes the
required personal debtor financial management course. Prior to completing all payments
under the Plan, the Debtor shall file with the Court a certificate that such course has been
completed.

       18.     This case is not subject to the provisions of section 521 (i) (l).
                                           April 27, 2010
       DONE AND ORDERED on ____________________________.




                                      K. RODNEY MAY
                                      UNITED STATES BANKRUPTCY JUDGE


Copies to be provided by CM/ECF Service
TES/WCH/cla
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                                          APPENDIX

                                           State Taxes

Unemployment Taxes. Mail reports and payments to:

                                 Department of Labor and Security
                                   Hartman Building, Suite 307
                                  2012 Capital Circle, Southeast
                                   Tallahassee, FL 32399-0658

Sales Taxes. Mail reports and payments to:

                           State of Florida - Department of Revenue
                         Office of General Counsel/Bankruptcy Section
                                         P.O. Box 6668
                                  Tallahassee, FL 32314-6668

                                         Federal Taxes

        Federal tax deposits of social security taxes (employer and employee shares) and
withholding taxes are to be made within three banking days after each payroll is made.
Deposits are to be made in a Federal Reserve Bank or a commercial bank authorized to
accept federal tax deposits. Deposits are to be made by cashier’s or certified check and be
accompanied by Form 8109, Federal Tax Deposit Withheld Income and FICA Taxes. If
Form 8109 is not available, deposits are to be mailed within the time prescribed or deposits
to the address indicated below. If you pay amounts with Form 941 that should have been
deposited, you may be subject to penalty. See Deposit Penalties in Section 11 of Pub. 15
(Circular E).

         Mail original returns (pre-petition), (prior to confirmation) to the appropriate
district office listed below according to the county listed in the bankruptcy petition as the
debtor’s residence or place of operating business.

        If any taxes are due on the pre-petition returns, they should be included in the Plan
(paid through the Trustee) and the IRS should be noticed at the Philadelphia address
regarding the bankruptcy

Jacksonville District                                    Ft. Lauderdale District
Internal Revenue Service                                 Internal Revenue Service
Attn: Insolvency, Stop 5720                              Attn: Insolvency, Stop 5730
400 W. Bay Street, Suite 35045                           P.O. Box 17167
Jacksonville, FL 32202                                   Ft. Lauderdale, FL 33318

Mailing of original returns, (post-petition), (after confirmation) and/or payments for those
specific returns should be sent to the regularly scheduled address as listed by the IRS on
your filing information.
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   Michael Paul Kumbat, Sr. and Lori Kumbat
   Case No.: 8:09-bk-19033-KRM
                                       EXHIBIT A

CLAIM # Attorney Fees:

   N/A    Weller Legal Group, Inc. ($3,600.00)                                 $ 2,800.00        Total
          (To be paid at $200.00 per month)
   N/A    Weller Legal Group, Inc. ($250.00)                                   $     250.00      Total
          (Additional Attorney fees Order/Docket #48)

          Priority:
   ____   ______________________________                                       $____________Total

          Secured Creditors Receiving Monthly Adequate Protection Payments:
   ____   __________________________                                  $                          Monthly

          Secured Creditors Curing Arrearage Total:
   ____   ____________________________                                         $                 Total

          Other:

    2     Pinellas County Tax Collector - Claim No. 2 is neither dealt with nor affected by the Plan as
          confirmed.

          Distribution to unsecured – (Amount)                                 $ 20,000.00       Total

          Order of Distribution:

          1. Adequate protection over life of plan or until creditor is paid in full and allowed
             Attorney’s Fees and Administrative Expenses
          2. Secured Balance plus interest over the life of the plan or as otherwise specified.
          3. Domestic Support Obligations under $500.00
          4. Small Secured creditors-Under $500.00 in balance.
          5. Arrearages and Domestic Support Obligations pro rata
          6. Other Priority Creditors and Pro-Rata Distribution to Unsecured Creditors

   Total Monthly Amount to be Paid to the Chapter 13 Trustee:

          Starting         09/26/09         $223.00           for 1 Months
                           10/26/09         $ 0.00            for 3 Months
                           01/26/10         $223.00           for 4 Months
                           05/26/10         $453.00           for 52 Months

   Total Plan Length     60    Months
